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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


 State of Colorado, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.



                              JOINT PRE-HEARING STATEMENT

       Pursuant to the Court’s Order, ECF No. 1173, the Parties submit the following Joint Pre-

Hearing Statement.

I.     Joint Status Update

       The Parties are attaching as Exhibit A their list of anticipated live witnesses identified by

name, place of employment, and title, and they are attaching as Exhibit B their list of witnesses

whose testimony they anticipate will be offered as deposition designations identified by name,

place of employment, and title. The Parties are submitting copies of their exhibit lists to

chambers. At this time the Parties do not have any ripe disputes regarding particular exhibits,

deposition designations, or confidentiality designations. The Parties have stipulated to the


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provisions in Section I.A regarding Demonstrative Exhibits and Visual Aids and the provisions

in Section I.B regarding Witness Sequestration. The Parties provide a status report on issues

related to confidentiality in Section I.C.

       The Parties respectfully request the Court’s guidance regarding the process for admission

of exhibits during the hearing, timekeeping during the hearing, and the duration of opening

statements. The Parties’ positions on these issues are set forth in Sections II, III, and IV below.

       A.      Demonstrative Exhibits & Visual Aids.

               1.     Demonstrative exhibits or visual aids shall be stamped and numbered with
               a dedicated prefix (e.g., PXRD001).

               2.      Versions of exhibits that are enlarged, excerpted, or marked-up to show
               what is redacted in the public version are not considered demonstrative exhibits or
               visual aids.

               3.      The Parties are not required to exchange in advance any demonstrative
               exhibits or visual aids.

               4.      If a Party intends to publicly disclose through a demonstrative exhibit or
               visual aid any information previously identified as confidential information
               during the discovery phase and has not already received express consent from all
               applicable Parties and/or Non-Parties to publicly display the information at issue,
               then the notice-and-objection process in the “Confidentiality Designations During
               the Evidentiary Hearing Section” of ECF No. 1196 at 4 shall apply to the
               confidential information in the demonstrative exhibits or visual aids.
       B.      Witness Sequestration.

               1.      Except for any of the Parties’ expert witnesses, any person on any of the
               Parties’ witness lists shall:

                       a)      be excluded from the courtroom during the hearing in advance of
                       their testimony, except when they are called to testify;

                       b)      not review transcripts of the proceedings; and

                       c)     not discuss their testimony at the hearing or the proceedings
                       (except for the mechanics of the proceeding) with anyone except their
                       counsel and, after their testimony is completed, not discuss their testimony
                       with any witness who has not already testified.



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       C.      Confidentiality

       The Parties submit the following update regarding confidentiality disputes. The Parties

followed the process adopted by the Court’s March 28, 2025, Amended Order. ECF No. 1201

(approving Parties’ proposed process for identifying confidentiality disputes pre-Hearing). Under

this approach, Google and certain third parties proposed redactions to a subset of exemplar

documents that are on the Parties’ exhibit lists.

       After exchanging twenty-five exemplar documents and meeting and conferring, Plaintiffs

and Google substantially agree on appropriate redactions for topics found in the exemplar

documents: trade secrets, financial and usage metrics, and forward-looking product plans.

Plaintiffs and Google will continue to work to ensure that redactions applied to the portions of

documents that will be used in open court are consistent with the applicable standards and the

Court’s prior guidance. The parties previously submitted a joint position statement to the Court

reflecting an agreed upon procedure for addressing redactions to specific portions of exhibits to

be used in open court. ECF No. 1196.

       Third parties collectively provided proposed redactions to portions of eighty exemplar

documents and nine deposition transcripts. The extent of proposed redactions varied

significantly, and in many cases the redactions to documents appear overly broad. However, the

Parties plan to work with these third parties to attempt to resolve any disputes regarding

overbroad redactions to portions of exhibits or testimony that they anticipate will be used at trial

and do not believe there are any disputes ripe for the Court’s intervention at this time.

II.    Admission of Exhibits During the Hearing

       A.      Plaintiffs’ Position

       Plaintiffs seek to provide an efficient presentation of documentary evidence and witness

testimony through the same process the Court approved and the Parties followed during the

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liability trial. In contrast, Google seeks to proceed under a new set of rules that would introduce

inefficiencies and limit the introduction of relevant and probative evidence that will assist the

Court in crafting a remedy in this matter.

        Plaintiffs’ current exhibit list for the remedies trial includes approximately 400 exhibits,

the majority of which were used at deposition or are otherwise exempt from the 300-exhibit limit

set in ECF No. 1201. Google makes specific objections to only approximately 73 documents on

Plaintiffs’ exhibit list. For exhibits with no objections, Plaintiffs propose following the same

process implemented during the liability phase: at the outset of trial, moving into evidence the

unobjected-to exhibits without any requirement for a sponsoring witness.1 See ECF No. 666.

This process dramatically expedited liability witness exams by eliminating the need to separately

move in – and potentially conduct argument on – each exhibit used during a live exam,

streamlining trial presentation and also permitting the use of additional, supporting evidence in

post-trial briefing.

        In contrast, Google proposes a significant change of course: deferring any bulk

admissions until after trial and limiting such admissions to a “subset” of exhibits not used with a

live witness. Google has not identified which, if any, of Plaintiffs’ unobjected-to exhibits it will

ultimately oppose, despite Plaintiffs’ request. Google instead suggests Plaintiffs should first

identify specific documents they do not intend to introduce through a trial witness, and only then,

the parties can discuss whether that subset could be admitted through Google’s proposed post-

trial process. This process is unworkable and would require Plaintiffs to predict with certainty




1
  Plaintiffs will continue to engage in meet and confers with Google on its objections and intend
to seek admission of the remaining 73 document either through a specific witness or through
subsequent bulk admissions after specific objections are resolved by negotiation or Court
intervention.
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today which exhibits may – or may not – be used with a live witness at trial. Google further

claims that this time-intensive process should govern even exhibits for which it makes no

specific objection, relying on a blanket reservation of rights to object based on the lack of a

sponsoring witness or foundation. Google’s justification for the change includes a professed

concern that Plaintiffs will rely too heavily on documents pushed into evidence. This argument

falls flat given the exhibit cap, extensive post-trial filings, and the limited number of exhibits on

Plaintiffs’ list.

        Plaintiffs respectfully request the Court continue the practice ordered by ECF No. 666

and reaffirmed multiple times during trial: permitting bulk admissions of unobjectionable

exhibits without a sponsoring witness. During liability, bulk admission at the outset enabled fact

witness examinations to “just move forward with the testimony and not worry about foundational

questions,” maximizing time spent on substantive issues.2 Relatedly, bulk admission eliminated

the need to subpoena and present testimony from custodians of record, reducing burdens on the

Court, third parties, and the parties themselves, while ensuring the Court had an adequate record

to inform its decisions.3 Both parties availed themselves of the opportunity to push documents

into evidence, enabling witness examinations to focus on the most relevant, substantive

testimony rather than spending valuable time, which is limited for the remedies hearing, on

foundational or background questions.




2
  At the liability pretrial conference, the Court stated: “So if there are not objected-to exhibits, I
would just as well have all those admitted, whether it's just to be pushed in or whether these are
exhibits you're going to present to a witness. So we don't have to go through the song and dance
of asking me to admitted it, et cetera, et cetera, and we can just move forward with the testimony
and not worry about foundational questions.” 9.01.2023 Pretrial Conference, 86:9-86:16.
3
  Tr. Tr. 2997:13–17 (“[W]hat I want to avoid is a situation where a party is not in a position to
introduce a piece of evidence simply because a records custodian wasn't called or something that
is really very, you know, procedural in nature.”).
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        B.      Defendant’s Position

        Google’s position is that Plaintiffs should not be permitted, at the outset of their case, to

“push” into evidence 338 exhibits for which no foundation has yet been laid. Instead, each side

should present the exhibits they intend to rely upon live with a witness or through deposition

designations. Then, near the end of the hearing, if there remain any additional exhibits that the

parties seek to rely upon in post-hearing briefing, the Court can consider any request to “push”

additional exhibits into evidence.

        The Court has already instructed that the exhibits the parties want the Court “to really

focus on ought to be presented here in trial and live,” and “as a practical and general matter, we

ought to avoid having substantial evidence . . . pushed in and not presented to [the Court].” Mar.

10, 2025 Hr’g Tr. 29:11-30:1. This aligns with the ordinary course of trial practice: parties are

expected to present live at trial before the fact-finder the evidence they wish to rely upon. E.g.,

United States v. AT&T Inc., 310 F. Supp. 3d 161, 186-87 (D.D.C. 2018) (explaining that the

court “generally instructed the parties to seek admission of documents through sponsoring

witnesses” because, among other things, “[w]itnesses would be able to contextualize and explain

the technical and lengthy documents at issue, which might otherwise be misunderstood or

selectively cited in post-trial briefs”). Plaintiffs wish to alter this ordinary practice entirely,

“pushing” substantially all of their exhibits into evidence at the outset and then supplementing

with evidence presented live at trial.4

        Plaintiffs attempt to justify their request based on the practice used during the liability

phase. But that practice proved unworkable when Plaintiffs filed post-trial briefing that relied

substantially on evidence that was never presented at trial. Even after excluding all cited


4
 This may explain why Plaintiffs requested such a short hearing in this remedies phase despite
the extraordinary breadth of the remedies sought in Plaintiffs’ Proposed Final Judgment.
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agreements, Plaintiffs’ Initial Proposed Findings of Fact collectively cited more than 450

exhibits that were not used with any witness at trial. See Google’s Responsive Proposed

Findings of Fact (ECF 912) at 2-3. And this was not—as Plaintiffs have suggested in the past—

limited to documents that further support testimony they elicited at trial. As just one of countless

examples: Plaintiffs asserted for the first time in their post-trial proposed findings of fact that

Pixel’s share of mobile device shipments in the United States was almost 20%. ECF 822 ¶ 1315

(citing UPX0317 at -159). If Plaintiffs had raised this document with any of the numerous fact

and expert witnesses from trial that were familiar with the dynamics of the Android smartphone

market, they would have corrected Plaintiffs and explained that the document shows that Pixel’s

actual share during that period was 1%. See ECF 912 ¶ 301. Instead, Google was forced to

correct this and numerous other misstatements in its responsive submissions and the Court was

forced to decide the disputed facts on a paper record, without the aid of witness testimony.

        The practice Plaintiffs propose is even more unworkable in the upcoming remedies

hearing. While Google had over a month during the liability phase to respond to Plaintiffs’

assertions regarding exhibits presented for the first time in post-trial briefing, here Google will

have just 7 days. See Mar. 10, 2025 Hr’g Tr. 29:11-30:1 (“I do want to guard against, you know,

substantive evidence coming in in a way that doesn't give you an adequate opportunity to

respond to it.”).

        As a matter of trial management, the Court should require any requests to push exhibits

into evidence to occur during the last week of the hearing. Ultimately, it might turn out that

Plaintiffs will use a substantial number of these exhibits live with a witness.5 And it might turn



5
 In the meet and confer, to narrow any dispute, Google asked Plaintiffs for a list of the exhibits
they are considering “pushing” into evidence that would not ultimately be used with a


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out that based on that evidence presented at trial, Plaintiffs will decide they no longer need to cite

certain other exhibits in post-trial briefing. By the final week of the hearing, Plaintiffs will have

presented their case and it is likely that drafting of post-trial submissions will be far

along. Therefore, deferring a “push” of exhibits to the last week of the hearing will force the

parties to sharpen their pencils over the final three-day weekend, and determine what, if any,

additional evidence they need to submit via a “push” to supplement the record. The Court and

the parties will then be able to assess, in light of the evidence already presented and based on the

amount and types of exhibits requested, whether the “push” is appropriate.

III.    Timekeeping

        A.     Plaintiffs’ Position

        Plaintiffs intend to efficiently use the seven trial days allocated to each side for the

remedies hearing. Plaintiffs do not believe a chess clock is necessary and defer to the Court’s

preference for time management during the remedies trial, similar to how trial was conducted

during liability, but take no issue proceeding under a chess clock if the Court is so inclined.

Plaintiffs believe that any time for openings should come out of each side’s allocated time.

Plaintiffs also request that a limited portion of their total time (not to exceed one trial day) be

reserved for rebuttal at the close of Google’s case.

        B.     Defendant’s Position

        Google requests that the Court implement a “chess clock” to ensure that the hearing time

is divided evenly among the two sides. Courts have frequently ordered that trials “be conducted

with chess clocks,” including in cases where the United States is a party. United States v. First




witness. Plaintiffs were unwilling to provide this, suggesting it would reveal trial strategy. But
the entire purpose of an exhibit list is to disclose the exhibits that the parties contemplate using at
trial and thereby facilitate the efficient presentation of evidence to the court.
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Data & Concord EFS, Inc., 287 F. Supp. 2d 69, 70 (D.D.C. Oct. 31, 2003); see, e.g., BCCI

Holdings (Luxembourg), S.A. v. Khalil, 182 F.R.D. 332, 340 (D.D.C. 1998) (ordering that “each

side shall have 25 hours to present its case” with the time to be “measured by use of a chess

clock”).

       A chess clock is particularly appropriate here because Plaintiffs have argued consistently

for a shorter evidentiary hearing. Near the outset of the remedies phase a hearing schedule was

established based on Plaintiffs’ estimate that they would need only “five trial days.” Sept. 6,

2024 Hr’g Tr. 18:18-24. And when Google sought to extend the duration of the hearing after

Plaintiffs filed their sweeping Proposed Final Judgment, Plaintiffs opposed Google’s request,

offering as a “compromise” that the hearing be expanded to only “twelve total trial days” with

“six days per side.” ECF No. 1125 at 23 (Jan. 14, 2025). Given Plaintiffs’ insistence on a

shorter hearing, a chess clock should be used to ensure that each side receives—as Plaintiffs put

it in January—”an equal amount of trial time.” Id.

       Furthermore, a chess clock is appropriate because Plaintiffs encountered time

management issues during the liability trial that cannot be repeated at the upcoming hearing

given the compressed schedule. As Google explained in a mid-trial filing, the DOJ Plaintiffs

“routinely exceeded their timing estimates for their own direct examinations, sometimes by well

over an hour,” and “[d]espite their plans to call 17 witnesses in the first two weeks” of trial,

“only 11 made it through.” ECF No. 720 at 6 (Sept. 27, 2023). Plaintiffs have disclosed 19

witnesses (including 8 experts) in connection with the upcoming evidentiary hearing—a number

that reinforces the need for a rigid division of time. Without a chess clock, Google’s opportunity

to present its own case may evaporate while Plaintiffs take a disproportionate share of the

hearing conducting direct examinations of their witnesses.



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        In light of these considerations, Google proposes the following provision allocating 45

hours to each side, which equates to approximately 6 hours and 30 minutes per day across the 14

hearing days:

        Each side shall be allocated a total of 45 hours of hearing time. Plaintiffs
        collectively are one side, and Google is the other side. All time spent by a side
        examining any witness (including direct, cross, or re-direct examination) shall
        count toward that side’s allocation. Time spent by a side on its opening statement
        shall also count toward that side’s allocation. Time spent on arguments related to
        admissibility, sealing, scheduling, or other matters addressed when a witness is not
        present shall not count toward either side’s allocation. Closing arguments also are
        not included in the allocation of 45 hours per side. The parties shall be jointly
        responsible for recording and reconciling the time used by each side on each
        hearing day.

        Google respectfully asks the Court to enter this provision in order to further the interests

of fairness and efficiency during the hearing.

IV.     Opening Statements

        A.      Plaintiffs’ Position

        Plaintiffs respectfully request 90 minutes for opening statements. Plaintiffs would

allocate 60 minutes for the United States Plaintiffs and 30 minutes for the Colorado Plaintiffs.

Google would be allowed 90 minutes.

        B.      Defendant’s Position

        Google submits that opening statements should be limited to 60 minutes per side, rather

than the 90 minutes per side proposed by Plaintiffs. The Court allocated only 60 minutes for

Google’s opening statement at the liability trial. See July 19, 2023 Hr’g Tr. 16:11-16. That

proceeding spanned approximately nine weeks, while the upcoming remedies hearing is

scheduled to last less than three weeks. Shorter opening statements will allow the Court to

devote more time to hearing from the witnesses both sides plan to present.




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Dated: April 9, 2025               Respectfully submitted,

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